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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA           :
                                    :
       v.                           :             Case No. 21-CR-28 (APM)
                                    :
 DONOVAN CROWL,                     :
                                    :
       Defendant.                   :
____________________________________:

     GOVERNMENT’S RESPONSE TO MOTION TO MODIFY CONDITIONS OF
                            RELEASE

       The United States respectfully files this response to the Defendant Donovan Crowl’s

Motion to Modify Conditions of Release. (ECF No. 189).

       While the government maintains that Defendant Crowl presents a danger to the community

for all the reasons previously stated on the record, the government acknowledges that, under the

circumstances, there is a legitimate countervailing benefit to the defendant maintaining gainful

employment if not incarcerated—on the condition that his employment can be properly monitored

the by the Pretrial Services Agency (“PSA”). Because the government understands that Defendant

Crowl has been compliant with his conditions of release to date, he has provided a detailed plan

of employment to PSA, and PSA does not object to monitoring this employment plan, the

government does not oppose the defendant’s request. The government would note, however, that

PSA suggested that the Court needs to step down the defendant’s level of supervision from Home

Incarceration to Home Confinement in order for it to be permissible for the defendant to leave his

home for work.
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       WHEREFORE, the government does not oppose the Defendant Crowl’s motion to modify

his conditions of release.



                                  Respectfully submitted,

                                  CHANNING D. PHILLIPS
                                  ACTING UNITED STATES ATTORNEY

                                  _____________________________
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                              CERTIFICATE OF SERVICE

        I hereby certify that on May 18, 2021, I sent a copy of the foregoing via the Court’s
electronic filing system to Carmen Hernandez, Esq., counsel for the defendant.



                                    KATHRYN L. RAKOCZY
                                    Special Assistant United States Attorney
